Case 18-11335 Doc 1 Filed 06/05/18 Page 1 of 15

Fill in this information to identify the case:

 

United States Benkruptcy Court for the:

_ Dlstrlcl of De|aware
(Slale)

l Case number (/r/mown): Chapter‘l_'l n Check if this is an
amended filing

Officia| Form 201
Voluntary Petition for Non-lndivi_duals Filing for Bankruptcy ome

|f more space is needed, attach a separate sheet to this form. On the top of any add|tlona| pages, write the dobtor's name and the case
number (il' known). For more lnformatlon, a separate document, Instructions for Bankruptcy Forms for Non-lndlviduals, ls avallable.

 

1~ Deb'f°r’$ name B|ue Palm Advertisinq Agencyl LLC

 

2. All other names debtor used
ln the last 8 years

 

 

|nc.|ude any assumed names.
trade names, and doing business
as names

 

 

3. Debtor’s federal Employer __
ldentification Number (E|N) _ '_' *" "'”“ '_ '_ '_ “~*_‘

4_ Debtor’s address Pr|nc|pal place of bus|ness Malllng address, if different from pr|nclpal place
of business

2129 N. Congress Avenue

 

 

 

 

 

 

Number Street Number Street
P.O Box
Riviera Beach FL 33404
Cilv S\El€ ZlP Cod@ cny slate zlP code

Locatlon of prlnc|pa| assets, lf d|fferent from
principal place of business

 

Pa|m Beach
Counly _ m _ _
Number Slreel
Clty __ State Z|P Code """
6. Debfor’S WebSife (URL) https://WWW.Sancllio.g)m

 

® Corpuralion (lncluding Limited Liabi|ity Company (LLC) and Limited Liabi|ily Pannership (LLP))
D Partnershlp (exc|udlng L.l..P)
l:l Other` Specify:

s. Type of debtor

 

Offlcial Form 201 Vo|untary Pelition for Non-lndivldua|s Filing for Bankruptcy page 1

Case 18-11335 Doc 1 Filed 06/05/18 Page 2 of 15

mm B|ue Paim Advertising Agency, LLC ease number¢,,,,w,,

Nlmo

1. Describe debtor’s business

B. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases, attach a
separate |ist.

1n. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. if more than 1,
attach a separate list.

Otnciai Form 201

 

A. Check one:

0 Heaith Care Business (as defined in 11 U,S.C. § 101(27A))
n Singie Asset Reai Estate (as defined in 11 U.S.C, § 101(51B))
D Raiiroad (as denned in 11 u.s.c.§101(44))

ij Stockbroker (as defined in 11 U.S.C. § 101(53A))

Cl commodity eroker (as denied in 11 u.s.c. § 101 (e))

ill C|earing Eiank (as denned in 11 U.S.C. § 781(3))

31 None of the above

B. Check eli that eppiy.'

n Tax-exempt entity (as described in 26 U.S.C. § 501)

n investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 803-3)

Cl investment advisor (as defined in 15 U.S.C. § BDb-2(a)(11))

C. NA|CS (North American industry Ciassii'icaiion Systern) 4-digii code that best describes debtor. See
L\.lii).-E'-=_‘s-‘-L'if-.¢~.iii;l.-z.~~_fii)y/.tg_i.l.t.-..~.liaii;iia!is),uril;i:i ‘__i,i_§i§_iiii_ii).;iwis f~

l. _2. .i. n4_

    

 

Check one:

l;l Chapter 7
l:l Chapter9
chapter 11. check ali mac appiy.
m Debtor's aggregate noncontlngent liquidated debts (exciuding debts owed lo

insiders or affiliates) are less than $2,565.050 (amount subject to ad]ustment on
4/01/19 and every 3 years after that).

Ll The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). lfthe
debtor is a small business debtor, attach the most recent balance sheet. statement
ot operations. cash-flow statementl and federal income tax return or if ali ofthese
documents do not exisi, follow the procedure in 11 U.S,C. § 1116(1)(5).

0 A plants being filed with this peiilion.

l;l Acceptances of the plan were solicited prepetition from one or more classes ci
creditors, in accordance with 11 U.S.C. § 1126(b).

n The debtor is required to file periodic reports (for exampie, 10K and 100) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. Fi|e the Attachment to Volunl'ary Peti't/`on for Non-/ridivi'duals F/'/ing
fo/'Balikruptcy under Chapter 11 (Ochia| Form 201A) with this forni.

C] The debtor is a shell company as detined in the Securities Exchange Act of 1934 Ru|e

 

   

le--Z.
U chapter 12
@ No
U Yes. Dlslrict When ____ Case number
MM l DD/YY¥V
ll)islrir:i __________ Case number _
m No

m Yes. D\-'ii.)iur See Sche_un attached hereto Re|ationship

[)istrir,l When
1VlM / 00 tYYYY

Case nurrii)¢-.'rl ii known

Volunlary Petiiion for Non-individuats Filing for Bankruptcy page 2

Case 18-11335 Doc 1 Filed 06/05/18 Page 3 of 15

motor B|ue F’a|m Adileriisinq Agencv. LLC em number(,,,m,,

Nllnti

11. Why is the case filed in this Check all that apply.'

d‘ rI
'st ct? n Debtor has had lis dom|clie. principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer pari of such 180 days than in any other
district.

iii A bankruptcy case concerning debtor's afnliate. general partner. cr partnership is pending in this district

12. Does the debtor own or have m NO

 

 

 

 

 

 

 

 

P°Ssessi°“ °f a"Y real Ei Yos. Answer below for each property that needs immediate attentionl Atiaoh additional sheets if nooded.
property or personal property

that needs |m mediate Why does the property need immediate attention? (Check all that apply.)

attention?

l:l it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safetyN
What is the hazard?

C] lt needs to be physically secured or protected from the weather.

Cl it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example. livestock, seasonal goods. meat, dalry. produce. or securities-related
assets or other nptions),

n Olher

Whero is the proporty?

Number Streei
C|ty Slaie Z|P Code

ls the property insured?

l:l No

l:l Yes. insurance agency

Cuntai:t name
Phono
- $tatlsticai and administrative information
13. Debtor’s estimation of Check one:
available funds m Funds will be available for distribution to unsecured creditors
l:l After any administrative expenses are paidl no funds will be available for distribution to unsecured creditors
_ ® 149 Ei 1,000-5,000 El 25,001-50,000
“' Est;]'!‘tated number °f Ci 50~99 El 5.001~10,000 El 50,001-100,000
°'e ' °'S Cl 100-199 Cl 10,001-25,000 El iviore than 100`000
U 200-999
_ la $0-$50.000 l:l $1.000,001-$10 million cl $500,000,001-$1 billion
‘5' Est'mated assets El 550.001-$100,000 Q $10,000,001-s50 million Cl $1,000,000,001-$10 billion
n $100.001~$500.000 U $50,000.001'-$100 million a $10.000.000,001-$50 billion
Li ssoo.ooi-si million l.`.| $100,000,001.-$500 million i_i ivlore than ssa billion

Offlcial Form 201 Vo|unlary Peiiiion for Non-|ndividuals Filing for Bankruptcy page 3

Case 18-11335 Doc 1 Filed 06/05/18 Page 4 of 15

B|ue Palrn Advertising Agency. LLC

Namo

Debtor Case number hr t.i .-.\,.i

 

Ei 3500,000,001-$1 billion

Ei $1.000,000,001-$10 billion
El $10.000,000,001-sso billion
Ci More than soo billion

Ei si.ooo,ooi-$w million

Ei sio,ooo,ool-$so million
g sso,ooo,ooi-sioo million
Ei 5100.000,001-$500 million

® $o-$so,ooo

Ei $50.001-$100.000
Ei 3100.001-$500,000
Ei ssoo,ooi-$i million

- Request for Relle{, Declaration, and Signatures

16. Estimated liabilities

 

WARN|NG -- Bankruptcy fraud is a serious crime. N|aking a false statement in connection with a bankruptcy case can result in fines up to
$500.000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

11. Declaration and signature of ,
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11. United States Code, specified in this
petition.

n | have been authorized to me this petition on behalf of the debtor.

n | have examined the information irl this petition and have a reasonable belief that the information is true and

correct.

i declare under penalty of perjury that the foregoing is true and correct.

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Eiigl'ii irir,- of nu]hrrrignllL-;[li:":nlilillivrf Df debtor

F’resident and CEO

 
 
 

Geoffrey |\/i. G|ass

Pr|nied name

 

Tille

 

;: §§

Signature of attorney for debtor MM

Date C/s`/x/&'

/DD /YYYY

1a. Signature of attorney

 

Derlnis A. Meloro
Pr|nied name

Greeilberg Traurig, l.i_P

 

 

 

i?i?m name
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Number Street
VVi|mington DE 19801
C|ty State ZIP Code

Oflicia| Form 201

(302) 661-7000

Contact phone

 

4435

rl'te|orod@qt|zlw.coiri

Emai| address

DE

 

Ber number

Voiuntary Petiiion for Non-|nd|vidua|s Filing for Bankruptcy

Staie

page 4

Case 18-11335 Doc 1 Filed 06/05/18 Page 5 of 15

Debtor Blue Paim Ai:i\iertiaini:i Acxencvr LLC Case numberuri~mn

 

 

SCHEDULE 1

Pending Bankruptcy Cases Filed by the Debtor and Related Entities

On the date hereof, each of the entities listed below (collectively, the “l)i:liiiirs”), filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United
States Bankruptcy Court for the District of Delaware. The Debtors have moved for joint
administration of these cases for procedural purposes only under the case number assigned to the
chapter ll case of Sancilio Pharmaceuticals Company, Inc.

1. Sancilio Pharmaceuticals Conipany, Inc.
2. Sancilio & Company, Inc.
3. Blue Palrn Advertising Agency, LLC

Case 18-11335 Doc 1 Filed 06/05/18 Page 6 of 15

WRITTEN CONSENT
OF
THE SOLE MEMBER
OF
BLUE PALM ADVERTISING AGENCY, LLC

The undersigned, being thc sole member (the “!*§t)lt: hileggil;:i"’) of Blue Pahn Advertising
Agency, LLC, a F.lorida limited liability company (the “Coinpany”), pursuant to the provisions
of the Florida Revised Limitecl Liability Company Act, do hereby authorize, adopt and approve
the following actions and resolutions by this written consent to action without a meeting (this
“Consent”):

l. l`-`i_|gig ol` |iitilki'untt'v |'ctiililrl i`i_il‘ ilic Cotnl)any

Wl`~l`lEREAS, the Solc Ivlember has considered the financial and operational aspects of the

Company’s business and the recommendations of` the Company’s professionals and advisors;

NOW, THEREFORE, BE IT RESOI.,VED, that, in the judgment of the Sole Member, it
is desirable and in the best interests of` the Cornpany, its creditors, members and other interested
parties that a petition (the “i~‘ciitiiiit”) be filed by the Company seeking relief under chapter ll of`
title ll of thc United States Code (thc “"i:;ililtrllptcv L`iit'lu”) in the United States Bankruptcy
Coult for the District of Delaware (the “l'ig_l_i_i_<_r_§lptg}/_C_th_i_r_ti_”), subject to the written consent of
stockholders of the Corporation holding at least 75% of the Series B Pref`erred Stock, Series C
Preferred Stocl<, Series D Preferrcd Stockr and Series E Prefe.rred Stock of Sancilio
rPharmaccuticals Company, Inc. (“YQ”), voting together as a single class (the “l`f__lj_t_:|_`l;,l_'[gt__
§‘i._i_p;_:;in,;ijp_i"lty Consent”); and be it

FU`RTHER RESOLVED, that, after SPC obtains the Preferred Supermajority Consent,
the proper officers of the Corporation the proper officers of the Company (the “_A_ut_horizcd
§§)Li`lc§_i_.j§”), including, but not limited to, any of Gcofl`rcy Glass, the Presidertt and Chief
Exccutive Officcr; Albert Cavagnaro, the Secretary and Chief Legal Of`ficer; and Karrilyn
Thomas, the Chief Financial Officer_, are hereby authorized and empowered on behalf of and in
the name of the Company to cxccute, Verify and cause to be filed thc Petition, together with
schedules of assets and liabilities, the Staten'lcnt of financial affairs and other ancillary documents
required by the Bankruptcy Code and the Federal Rulcs of Bankruptcy Procedure to be filed with
the Petition, at such time as the Authorized Of`ficers consider it appropriate; and be it

FURTHER RESOLVED that the Authorized Officers, and any employees or agents
(including counsel) designated by or directed by the Authorized Off.icers, shall be, and each
hereby is, authorized and empowered to cause the Cotnpany and such of its affiliates as
management deems appropriate to enter into, execute, deliver, certify, file, record, and perform
Such agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authoritics, certificates or other documents, and to take such other
actions, as in the judgment of such Authorized Officer Shall be necessary, proper, and desirable
to prosecute to a successful completion the Company’s chapter ll case and to carry out and put
into effect the purposes of the foregoing resolutions, and the transactions contemplated by

Case 18-11335 Doc 1 Filed 06/05/18 Page 7 of 15

these resolutions, their authority thereunto to be evidenced by the taking of such actions; and
be it

FURTI-IER RESOLVED, that the Authorized Of`ficers shall be, and each hereby is,
authorized and empowered on behalf of, and in the name of, the Company to retain
Greenberg Traurig, P A.; MCA Financial Group, Ltd. and such other attorneys, investment
bankers accountants, financial advisors, and other professionals to assist in the Company’ s
chapter ll case on such terms as are deemed necessary, prope1, or desirable by the Authorized

O;l`ficers.
2. C§Br_'aj Authoriaa_llr_)_n

NOW, THEREFORE, BE IT RESOLVED, that any and all acts taken and any and all
certificates, instruments, agreements or other documents executed on behalf of the Company by
the Authorized Off.icers prior to the adoption of the foregoing resolutions with regard to any of
the transactions, actions, ce1tif1cates, instruments, agreements or other documents authorized or
approved by the foregoing resolutions be, and they hereby are, ratified, confirmed adopted and
approved ; and be it

FUR'].`HER RESOLVED, that any specific resolutions that may be required to have been
adopted by the Sole Member to effectuate the matters and transactions contemplated by the
foregoing resolutions be, and they hereby are, adopted, and the officers and authorized
representatives of the Company be, and each of them acting along hereby is, authorized in the
name and on behalf of the Company to certify as to the adoption of any and all such resolutions;
and be it

FURTH.ER RESOLVED, that the Authorized Officers shall be, and each hereby is,
authorized and empowered on behalf of the Company and in its name to take or cause to be taken
all actions and to execute and deliver all such instruments that such Authorized Officer
determines are necessary or desirable in connection with the foregoing resolutions; and be it

FURTHER RESOLVE`D, that this Consent may be signed in any number of counterparts
(including by means of facsimile signature), each of which shall be deemed to be an original, and
all of which taken together shall be deemed to be a single consent,

[Remainder of Page Intentionally Le# Blank]

Case 18-11335 Doc 1 Filed 06/05/18 Page 8 of 15

Y‘9
l`N WITNESS WHER.EOF, the undersigned have executed this Consent the‘i`____ day of
June, 2018.

SOLE MEMBER:

sANt 11 loya COMP \N\/,H\C

Qll:j £/\_(
By: / r -"<`-f{'/;:// '”`"

N;nni:: ti ethel»£(ilass
Title: t_` |vic|` Executive Officer

[S/gnature Page to ertten Consent of Sole Member of Blue Palm Advert!slng Agency, LLC]

Case 18-11335 Doc 1 Filed 06/05/18 Page 9 of 15

Fii| in this information to identify the case and this filing:

DebtorName Blue Pa|m Advertising Agency. LLC

United States Bankruptcy Couri for the: District of DElaWa i'e
(Stale)

Case number (ilknawn):

 

 

Officiai Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors 12/15

An individual who ls authorized to acton behalf of a non-individual debtor. such as a corporation or pertnership, must sign and submit
this form for the schedules of assets and liabilitiee, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor. the identity of the
document, and the date. Bankruptcy Ruies 1008 and 9011.

WARN|NG -- Eankru ptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
1519, and 3571.

- Do.claration and signature

 

| am the presidentl another officer, or an authorized agent ofthe corporation; a member oren authorized agent of the partnership; or
another individual serving as s representative of the debtor in this case.

i have examined the information in the documents checked below and l have a reasonable beliefthai the information is true and correct

ij

Schedu/e A/B: Assets-Reai end Persona/ Propeny (Oft'lc|a| Form 206AIB)
Scheduie D: Creditors Who Have C/aims Secured by Property (Ofiioiai Form 206D)
Schedu/e E/F.' Crediiors Who Have Unsecured Claims (Ofttciai Form 206E/F)
Schedu/e G.' Executory Contracts and Unexpired Leases (Oi‘ncial Form ZDSG)
Scheduie H.‘ Codebtors (Oftioia| Form 206H)

Summary ofAsssts and Li'abllities for Non-individuals (Officiai Form ZDSSum)

Amended Schedule

Chapter 11 or Chapter 9 Cases.' List of Creditors Who Heve the 20 Lergest Unsecured Ciaims and Are Not insiders (Omcia| Form 204)

U E UUUUC|U

Other document that requires a declaration,._,,_______,__,_.......,,..

/3
jj /r
| declare under penalty of perjury that the foregoing is true and tt@ /

/

Executed on _O(€_lb$i'a"m`g x // ,I ycb£)

MM / DD / YYYY S|gnature of individual -_.n_n-n~ i on be

 

Geoffrey i\/i. G|ass

Pr|nied name

President and CEO

Position; relationship to debtor _

Ofitcia| Form 202 Dec|aration Under Pena|ty of Perjury for Non-|ndlviduai Debtors

a.

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f)|tir.i'n| l"orm 204

United States Bankruptcy Court
For the District of Deieware

Case lin

Ci\u¢)ior l l

Page 10 of 15

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). A|so, do not include claims by secured creditors, unless the
unsecured claim resulting frorri inadequate collateral value places the creditor among the holders of the 20 largest unsecured clalrns.

 

Name ol creditor aan complete mailing
edd/ess, including zip code

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address qt aedticrconioct

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Tolll ulaini. ii
partially secured

Doduc\ioi\ for
value of collateral
or setoff

Unsecured claim

 

Cato Research
i'-’(.) telex e'iF)i)127

.loceiyn Huard
514-858-2286

 

 

 

 

 

 

Ciier|otte. NC 28289~012`¢` ihuar@cato`com trade debt 3 732.7'14,38
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Cincinnaiil Oi| 45227 tber\iamin@medpace,com trade debt 138.273 78
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14193 5\!\!119 Ave, 706-345-5511

Miami |”'L 33186 |uis`|aioni@innovanci.com trade debt 1051096,97

 

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330 tirnni<|inr.\ )".vn
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Attn: Director ot i`teseaich Financi:
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ci_.iailam@bidmc harvard edu

trade debt

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300 Longwoor.i /\ve
Huston MAt12115

Attn: Ri‘.sr:arr,.h Fiiiani:e

jason O'Brien

85'7-218-4382

Jason Ohricn(rji`)cl\iiclrens. harvard ed
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305-379-7000
icasai@bpbcpa corn

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Case 184-1335 DOC 1 Filed 06/05/18 Page 11 of 15

 

 

ln re Blue Pa|m MvunisFr\g Mency, LLC Cnse No.
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mmw§;` mr.~m¢¢.,¢,-; pp gm .ut\.lmsr`~s'ul acd»{u: conflict rrr.\¢.l¢_~ doran bank r,rJnmlg-\mi'. mr£um.# vn!urrj' .
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DSM Nulritlonal Products
3929 Col|ect\on Center Dr.

Patric|a Snyder
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C:hi¢;¢aqok |L guess palricia.sn~;der@dsm.com lrade debt 47.037.50
Nev|gan! Arlrl::o Waul:ls
685 Th|rd Avenue 14th Floor 312-5?3-5522 professional
New York, NY 10016 amice.woods@nav|g_am.com serv\ces 45,675.00
Verit|v Operatlng Company Lu|s Maca|l
6120 Soth G|lmore Road, Sulte 400 577»298-12?7
Fairtie|d. OH 45014 lLl!a,rnac.a|inerl\lvool'p.com trade debt 45.071.28
Wa|greens ch!n r'\lliance
nlennamwg 8 Suzanne V\h|lis
CHABUZ? Eem, Swltzcrland suzanne.wll||arfl]wbnde=) cum lrade debt 44,403.18
MTC lndustr|n:., lnc. ch Hortmann
255 Oser Ave. 531-2?4-4818 ext 122

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Hauppauqe. N¥ 11?£|8

§§>c_@mt:lnduslrlus.com

 

 

 

Case 18-11335 DOC 1 Filed 06/05/18 Page 12 of 15

Fil|'in this information to identify the case and this filing:

Dewa Name B|ue Paim Advertising Agency, LLC

United States Bankruptcy Court forthe: Dlstnct of D§lawat`£'
(S tate)

Caee number (lrknown):

 

 

Officiai Form 202
Declaration Under Penalty of Perjury for Non-lndlvidual Debtors

An individual who le authorized to act on behalf of a non-individual debtor. such as a corporation or partnenhip, must sign and submit
this form lor the schedules of assets and |lablilt|ee. any other document that requires a declaration that le not included |n the document,
and any amendments of those documents. Thls form must state the individua|’s position or relationship to the debtorl the identity of the
document, and the date. Bankruptcy Ruiee 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Mak|ng a false etatement, concealing property, or obtaining money or property by fraud |n

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 'lB U.S.C. §§ 162, 134'1,
1519, and 3571.

 

- Decleratlon and signature

l am the president another ofticer, or an authorized agent of the corporat|un; a member or an authorized agent of the partnershlp', or
another individual serving as a representative of the debtor in this case.

l have examined the information in the documents checked below and i have a reasonable belief that the information is true and correct:

Schedule A/B.' Assets-Ree/ and Personal Properly (Ofticia| Form 206A/B)
Schedu/e D: Credilors Who Have Cleims Secured by Property (Oftic|ai Form 206D)
Scheduie E/F.l Credltors Who Have Unsecured Cie/me (Offlcia| Form 206E/F)
Schedule G: Execulory Coniracts and Unexpirad Leeses (Ofiicial Form 2066)
Schedule H.' Codebtors (Ofticia| Form 2OSH)

Summary of Assets end L/abiiit/es for Non-Individuals (thcia| Form 2068um)

Amended Scheduie

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Othar document that requires a c|eclarnlinn_CMl_'lR!_$_h .{t;§_!i!_l£-'_l`!'_%'!!....____ ______. _... __ _ _
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MM / DD l YYYY 1&/¢_1||.11:||»:¢>‘[ 'tlv-d\lu{'M}\ri' on heh.\tl of debtor _

 

| declare under penalty of perjury that the foregoing is true z?véurr'ec_

_t'_%eoi'frey_r |Vi. Giass

Prinle_d name

President and CEO

Position or relationship to debtor

Officia| Form 202 Dec|aration Under Pena|ty of Per|ury for Non-individua| Debtors

Chapter 11 or Chapter 9 Cases.' List of Credltors Who Have the 20 Largest Unsecured Clalrns and Are Nol insiders (Ofncia| Form 204)

Case 18-11335 DOC 1 Filed 06/05/18 Page 13 of 15

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

.In re: Chapter ll

Blue Palm Advertising Agency, LLC, Case No. 18- ( )

Debtor.

CORI’ORATE OWNERSHIP STATEMENT
Pursuant to rules 1007(a)(1) and 7007.1 of the F ederal Rules of Bankruptcy Procedure,
the following are corporations, other than a governmental unit, that directly or indirectly own

10% or more of any class of the Debtor’s equity interests:

_ Sh§r§h_o`_iliéi` """""""""""""""""""""""""""""""" A"§pr§iini£'ié_§é@iml& '
Sancilio & Company, Inc. 100% of membership interests of
Blue Palrn Advertising Agency, LLC

 

 

Sancilio Pharrnaceuticals Company, Inc. _ 100% of the equity of Sancilio & Company, Inc.

 

85% of Series B Preferred of
Sancilio Pharmaceuticals Company, inc.
Lighthouse Aggressive Growth Fund, LP

22.7% of Series E Preferred of
_ __________ § §n§ii.i__..<z__Pharm§§¢i_lti§e_i.§__§smpepy,_lm>; _____________________
50% of Series C Prefen'ed of

Sancilio Pharmaceuticals Company, Inc,

Signet Healthcare Partners LP
25% of Series E Preferred of

Sancilio Pharmaceuticals Qmpln_y, Inc._

 

 

 

50% of Series C Preferred of
Sancilio Phannaceuticals Company, Inc.
Wellington Management Company, LLP

25% of Series E Preferred of
Sancilio Pharmaceuticals CompM/, Inc.

100% of Series D Preferred of
Sancilio Pharmaceuticals Company, Inc,

 

K.D. Pharma Bexbach GmbH
18.2% of Series E Preferred of

S_arz§li<> Plama<>@l_\ti¢al§<`£rl_pany, Inc.

 

 

 

Case 18-11335 DOC 1 Filed 06/05/18 Page 14 of 15

Fil| in this information to identify tho case and this filing:

Debtor Name Blue Pa|m Advertising Agency_ LLC

United States Bankruptcy Court for the: District of Q§l§W§t‘e
lStele)

Cese number (I/ known):

 

 

Officia| Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors 12115

 

An individual who is authorized to acton behalf of a non-individual debtor. such as a corporation or partnership, must sign and submit
this lorrn for the schedules of assets and |labi||t|es, any other document that requires a declaration that is not included in the document,
end any amendments of those documents. Thie form must state the individual’s position or relationship to the debtorl the identity of the
document, and the date. Bankruptcy Ru|es 1008 and 9011.

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connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

- Declaratlon and signature

| am the presidentl another officer, or an authorized agent ofthe corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this cese.

| have examined the information in the documents checked below and i have a reasonable belief that the information is true and correct

U

Schedule A/B.' Assets~Reai and Persona/ Propen‘y (Off'lciai Form 206A/B)
Schedu/e D: Creditors Who Have Cleims Secured by Property (Ofnciai Form 206D)
Schedule E/F.' Crediiors Who Have Unsecured Claims (Offlcia| Form 206E/F)
Schedule G: Executory Contracts and Unexpi'red Leeses (Of|ic|al Form 206G)
Scheduie H.' Codeblors (Offlc|al Form 206H)

Summery of Assets end Liebi/Ities for Non-Indlviduais (Ofticia| Form 2068um)

Amended Scheduie

Chapter 11 or Chapter 9 Cases. /_isl of Credltors Who Have the 20 Lergesi Unsecured Claims and Are Not insiders (Offlciai Form 204)

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l declare under penalty of perjury that the foregoing is true and cin(;"/ /// /- :“"’;

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MM/DD/YYYY idebtor

Geoffrev M' Q..'__'~=_‘§S__..

Printed name

President and CEO

Position or relationship to debtor

Oinciai Form 202 Dec|aration Under Penelty of Perjury for Non-|ndividuai Debtors

Case 18-11335 DOC 1 Filed 06/05/18 Page 15 of 15

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Blue Palm Advertising Agency, LLC, Case No. 18- ( )

Debtor.

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Name Address §
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v2_12_9 N. Cor:éress Avenue
_ Sa_ncilio & Company, Inc._ _ Riviera Beach, FL 33404 100%

 

 

